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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION                                                 FILED
                                                                                       Scott L. Poff, Clerk
                                                                                    United States District Court

UNITED STATES OF AMERICA                       )                                By STaylor at 9:40 am, Oct 02, 2018

                                               )
v.                                             )        CR 218-14
                                               )
ANTHONY BERNARD LEWIS                          )

                                          ORDER

        The Defendant has filed a Motion for Bond.        (Doc. 409). The Government

 opposes Defendant’s Motion.     (Doc. 411).       After reviewing the Motion and the entire

 record in this case, the Motion is hereby DENIED.

        On March 21, 2018, the Court conducted a bond hearing in which the

 Government moved for detention of Defendant.          During that hearing Defendant

 requested release pending trial and Defendant’s counsel presented argument and

 evidence by proffer.   On March 23, 2018, having considered the evidence and

 argument presented at the detention hearing, the Court ordered that Defendant should be

 detained.   (Doc. 120).   In the instant Motion, Defendant does not identify any newly

 discovered evidence or any facts or circumstances that have changed or since the

 Court’s previous determination that Defendant should be detained pending trial.

 Therefore, the facts and circumstances present on the record establish that Defendant

 should remain detained pending trial in this matter.

        So ORDERED, this 1ST day of October, 2018.




                               ___________________________________
                               BENJAMIN W. CHEESBRO
                               UNITED STATES MAGISTRATE JUDGE
                               SOUTHERN DISTRICT OF GEORGIA
